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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                            CASE NUMBER:
RLI INSURANCE COMPANY et al.,
                                                                         2:22-cv-03173-RSWL-AS

                          v.                 Plaintiff(s)

 HARVEST KING TRADING USA LIMITED et
 al.,                                                                          NOTICE OF
                                                                             MEDIATION DATE
                                          Defendant(s).



YOU ARE HEREBY NOTIFIED THAT THE PANEL MEDIATOR HAS SCHEDULED A MEDIATION
IN THE ABOVE-CAPTIONED CASE

for January 10, 2023                       at 9:00              ✔   a.m. /    p.m.

LOCATION: Teams video conference



 The mediation session must be completed and an ADR-03 Report must be filed on or before the
 Court-ordered completion date.


Continuances are not favored and can only be granted by the Mediator up to the Court-ordered completion
date. Absent extraordinary circumstances, parties cannot request a continuance within three (3) business
days of a scheduled mediation.



Dated: November 10, 2022                       Panel Mediator: Andrew D. Kehagiaras
                                               Address:               100 West Broadway, Suite 660
                                                                      Long Beach, CA 90802
                                                                      adk@tradeandcargo.com
                                               Phone:                 (310) 642-9800 ext. 3




ADR–13 (01/12)                           NOTICE OF MEDIATION DATE                                Page 1 of 1
